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           In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                            No. 17-989V
                                        Filed: July 21, 2023


                                                                      Special Master Horner
 JASON QUIRINO,

                         Petitioner,
 v.

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                         Respondent.


Andrew Donald Downing, Downing, Allison & Jorgenson, Phoenix, AZ, for petitioner.
Mitchell Jones, U.S. Department of Justice, Washington, DC, for respondent.

            DECISION AWARDING INTERIM ATTORNEYS’ FEES AND COSTS1

       On October 10, 2022, petitioner moved for an award of interim attorneys’ fees
and costs in the amount of $70,664.65, including $61,878.50 in attorneys’ fees and
$8,786.15 in costs. (ECF No. 87.) In response, respondent deferred to the special
master regarding both the amount and appropriateness of an award of interim attorneys’
fees and costs. (ECF No. 61.) For the reasons discussed below, I award petitioner
interim attorneys’ fees and costs in the amount of $63,976.65.

      I.     Procedural History

      On July 21, 2017, petitioner filed this claim, under the National Childhood
Vaccine Injury Act, 42 U.S.C. § 300aa-10-34 (2012), alleging that as a result of his July
28, 2014 Hepatitis B (“Hep B”) and Tetanus-Diphtheria-acellular-Pertussis (“Tdap”)
vaccination he suffered a rheumatologic injury. (ECF No. 1.) Petitioner filed an

1 Because this document contains a reasoned explanation for the action taken in this case, it must be

made publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic
Government Services). This means the document will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
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amended petition on December 19, 2019, alleging that his July 28, 2014 vaccinations
actually caused him to suffer an atypical form of Guillain-Barre syndrome (“GBS”),
manifesting as an isolated small fiber neuropathy. (ECF No 53.)

       This case was originally assigned to Special Master Moran and subsequently
reassigned to Special Master Sanders. (ECF Nos. 4, 20.) On February 27, 2018,
respondent filed his Rule 4(c) report, recommending against compensation. (ECF No.
27.) On July 25, 2018, Andrew Donald Downing substituted in as the attorney on
record in place of Ronald Craig Homer. (ECF No. 38.)

        Subsequently, petitioner filed an expert report from Dr. Laura S. Boylan to
support his claim and, in response, respondent filed an expert report from Dr. Jeffrey M.
Gelfand. (ECF Nos. 41, 46.) This case was then reassigned to my docket on August
29, 2019. (ECF No. 49.) Following a status conference held on September 23, 2020,
petitioner filed an amended petition and supplemental report from Dr. Boylan. (ECF
Nos. 53, 57.) Respondent also filed a supplemental report from Dr. Gelfand. (ECF No.
62.) On July 20, 2020, per petitioner’s request, this case has been queued for the
scheduling of an entitlement hearing. (ECF No. 64.)

       Petitioner filed a motion for interim attorneys’ fees and costs on May 12, 2020,
seeking fees and costs for both current and former counsel. (ECF No. 60.) On July 31,
2020, petitioner was awarded interim attorneys’ fees and costs in the amount of
$51,032.50, including $44,623.97 to current counsel, Mr. Downing, and $17,408.53 to
prior counsel, Mr. Homer. (ECF Nos. 65, 67.)

       Subsequently, the case was set for hearing to be held in October of 2022. (ECF
Nos. 72, 75.) The hearing was held as scheduled. Shortly thereafter, petitioner filed the
instant motion for a second award of interim attorneys’ fees and costs. (ECF No. 87.)
Respondent filed his response on October 24, 2022, and petitioner filed no reply. (ECF
No. 88.) Accordingly, the motion is now ripe for resolution.

   II.    An Award of Interim Attorneys’ Fees and Costs is Appropriate

        Section 15(e)(1) of the Vaccine Act allows for the special master to award
“reasonable attorneys' fees, and other costs.” § 300aa–15(e)(1)(A)–(B). Petitioners are
entitled to an award of reasonable attorneys' fees and costs if they are entitled to
compensation under the Vaccine Act, or, even if they are unsuccessful, if the special
master finds that the petition was filed in good faith and with a reasonable basis. Avera
v. Sec'y of Health & Human Servs., 515 F.3d 1343, 1352 (Fed. Cir. 2008). In this case,
I have already determined this petition was filed in good faith and with a reasonable
basis. Quirino v. Sec’y of Health & Human Servs., No. 17-989V, 2020 WL 5016702
(Fed. Cl. Spec. Mstr. July 31, 2020).

       Additionally, the Federal Circuit has concluded that interim fee awards are
permissible and appropriate under the Vaccine Act. Shaw v. Sec’y of Health & Human
Servs., 609 F.3d 1372 (Fed. Cir. 2010); Avera, 515 F.3d at 1352. In Avera, the Federal


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Circuit stated, “[i]nterim fees are particularly appropriate in cases where proceedings
are protracted and costly experts must be retained.” Id. In denying an interim fee
award, the Avera court reasoned, “The amount of fees here was not substantial;
appellants had not employed any experts; and there was only a short delay in the award
pending the appeal.” Id. In Shaw, the Federal Circuit clarified that “where the claimant
establishes that the cost of litigation has imposed an undue hardship and there exists a
good faith basis for the claim, it is proper for the special master to award interim
attorneys’ fees.” 609 F.3d at 1375.

        In sum, awards of interim fees and costs are discretionary and are intended to
avoid undue hardship. Multiple motions for interim attorneys’ fees and costs are
disfavored. See, e.g., Patel v. Sec’y of Health & Human Servs., No. 16-848V, 2019 WL
2296818, at *2 n.3 (Fed. Cl. Spec. Mstr. Apr. 11, 2019) (one special master noting “it is
not my practice to allow multiple interim fee awards of fees and costs . . . and
[petitioner] should therefore refrain from requesting another interim award again until the
case fully concludes”); see also Kottenstette v. Sec’y of Health & Human Servs., No. 15-
1016V, 2019 WL 5709372, at *2 (Fed. Cl. Spec. Mstr. Oct. 11, 2019) (the undersigned
granting a second interim fee award where the Court of Federal Claims entertained a
stay of respondent’s motion for review).

        Here, the first award of interim attorneys’ fees and costs was made in significant
part to address the attorneys’ fees and costs of former counsel. Since that time, this
case has remained pending for a further three years to date and current counsel has
incurred significant additional fees and costs. E.g. Chinea v. Sec’y of Health & Human
Servs., No. 15-95V, 2019 WL 3206829 (Fed. Cl. Spec. Mstr. June 11, 2019).
Accordingly, I exercise my discretion to allow an interim award at this time. However,
any further request that attorneys’ fees and costs be awarded on an interim basis will be
met with a skeptical eye.

   III.    Reasonableness of the Requested Award

           a. Attorneys’ Fees

        It is “well within the special master’s discretion” to determine the reasonableness
of fees. Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521-22 (Fed. Cir.
1993); see also Hines v. Sec’y of Health & Human Servs., 22 Cl. Ct. 750, 753 (1991)
(“[T]he reviewing court must grant the special master wide latitude in determining the
reasonableness of both attorneys’ fees and costs.”). The Federal Circuit has approved
the lodestar approach to determine reasonable attorneys’ fees and costs under the
Vaccine Act. Avera, 515 F.3d at 1347. This is a two-step process. Id. at 1347-48.
First, a court determines an “initial estimate…by ‘multiplying the number of hours
reasonably expended on the litigation times a reasonable hourly rate.’” Id. (quoting
Blum v. Stenson, 465 U.S. 886, 888 (1984)). Second the court may make an upward or
downward departure from the initial calculation of the fee award based on specific
findings. Id. at 1348.



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        A reasonable hourly rate is “the prevailing market rate defined as the rate
prevailing in the community for similar services by lawyers of reasonably comparable
skill, experience, and reputation.” Avera, 515 F.3d at 1348 (citation and quotation
omitted). The decision in McCulloch provides a further framework for consideration of
appropriate ranges for attorneys’ fees based upon the experience of the practicing
attorney. McCulloch v. Sec’y of Health & Human Servs., No. 09-293V, 2015 WL
5634323, at *19 (Fed. Cl. Spec. Mstr. Sept. 1, 2015), motions for recons. denied, 2015
WL 6181910 (Fed. Cl. Spec. Mstr. Sept. 21, 2015). The Office of Special Masters has
subsequently updated the McCulloch rates, and the Attorneys’ Forum Hourly Rate Fee
Schedules for 2015-2016 and later years can be accessed online.2

        Special masters may rely on their experience within the Vaccine Program to
determine the reasonable number of hours expended. Wasson v. Sec’y of Health &
Human Servs., 24 Cl. Ct. 482, 484 (1991), rev’d on other grounds and aff’d in relevant
part¸ 988 F.2d 131 (Fed. Cir. 1993). Special masters have previously reduced the fees
paid to petitioners due to excessive and duplicative billing. See Ericzon v. Sec’y of
Health & Human Servs., No. 10-103V, 2016 WL 447770 (Fed. Cl. Spec. Mstr. Jan. 15,
2016) (reduced overall fee award by 10 percent due to excessive and duplicative
billing); Raymo v. Sec’y of Health & Human Servs., No. 11-654V, 2016 WL 7212323
(Fed. Cl. Spec. Mstr. Nov. 2, 2016) (reduced overall fee award by 20 percent), mot. for
rev. denied, 129 Fed. Cl. 691 (2016). Special masters can reduce a fee request sua
sponte, without providing petitioners notice and opportunity to respond. See Sabella v.
Sec’y of Health & Human Servs., 102 Fed. Cl. 719, 729 (2011).

        The billing records submitted with petitioner’s motion show that counsel
increased the requested hourly rates mid-year in 2022 upon transitioning to a different
law firm. I find it more reasonable to award fees using consistent rates for the duration
of 2022 and at the same rates as awarded in prior cases. Madigan v. Sec’y of Health &
Human Servs., No. 14-1187V, 2023 WL 3778884, at *2 (Fed. Cl. Spec. Mstr. June 2,
2023); see also Pryor v. Sec’y of Health & Human Servs., No. 18-1288V, 2022 WL
1793236, at *4 (Fed. Cl. Spec. Mstr. Dec. 28, 2022); Franceschi v. Sec’y of Health &
Human Servs., No. 21-468V, 2023 WL 4270835, at *2 (Fed. Cl. Spec. Mstr. May 30,
2023). I find that the hours billed were reasonable overall. However, Ms. Jorgensen
billed a total of 61.1 hours preparing petitioner’s prehearing submission. (ECF No. 87-1,
pp. 6-9.) Considering the overall scope of the record, the degree of complexity of this
case, and the resulting submission, I find this to be excessive. I reduce these 61.1
hours by 15%.

       In light of these adjustments, I award attorneys’ fees as follows:




2 Each of the Fee Schedules can be accessed at http://www.cofc.uscourts.gov/node/2914. The hourly

rates contained within the schedules are derived from the decision in McCulloch, 2015 WL 5634323. The
schedules for 2017 and later are adjusted for inflation using the Producer Price Index for Offices of
Lawyers (“PPI-OL”).


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 Individual                  Year            Rate            Hours                                   Total

 Downing                     2020-21         $385            4.2                               $1,617.00
                             2022            $415            47.9                             $19,878.50
 Van Cott/Jorgensen          2021            $275            .2                                   $55.00
                             2022            $325            100.84                           $32,773.00
 Allison                     2022            $415            .3                                 $124.50
 Avery                       2020-22         $135            5.5                                $742.50

 Total                                                                                        $55,190.50

             b. Interim Attorneys’ Costs

       Attorneys’ costs must be reasonable as well. See Perreira v. Sec’y of Health &
Human Servs., 27 Fed. Cl. 29, 34 (1992) (“The conjunction ‘and’ conjoins both
‘attorneys’ fees’ and ‘other costs’ and the word ‘reasonable’ necessarily modifies both.
Not only must any request for reimbursement of attorneys’ fees be reasonable, so also
must any request for reimbursement of costs.”). Upon my review, the requested costs
are reasonable and adequately documented.

    IV.      Conclusion

      In light of the above, petitioner’s motion for an award of interim attorneys’ fees
and costs is hereby GRANTED. Petitioner is awarded $63,976.65, representing
$55,190.50 in interim attorneys’ fees and $8,786.15 in interim attorneys’ costs.

     Accordingly, I award a lump sum of $63,976.65 in the form of a check
payable to petitioner and his counsel, Andrew Donald Downing, Esq.

          The clerk of the court shall enter judgment in accordance herewith.3


IT IS SO ORDERED.

                                                           s/Daniel T. Horner
                                                           Daniel T. Horner
                                                           Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

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